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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                          Chief Judge Philip A. Brimmer

 Criminal Action No.: 20-cr-00152-PAB          Date: March 29, 2022
 Courtroom Deputy: Sabrina Grimm               Court Reporter: Kevin Carlin


 Parties:                                      Counsel:

 UNITED STATES OF AMERICA,                     Michael Koenig
                                               Carolyn Sweeney
                                               Heather Call
                                               Paul Torzilli

      Plaintiff,

 v.

 1. JAYSON JEFFREY PENN,                       Michael Tubach
                                               Anna Pletcher
                                               Brian Quinn
 2. MIKELL REEVE FRIES,                        Richard Kornfeld
                                               David Beller
                                               Kelly Page
 3. SCOTT JAMES BRADY,                         Bryan Lavine
                                               Megan Rahman
                                               Tiffany Bracewell
 4. ROGER BORN AUSTIN,                         Michael Feldberg
                                               Laura Carwile
                                               Julie Withers
 5. TIMOTHY R. MULRENIN,                       Elizabeth Prewitt
                                               Marci LaBranche
 6. WILLIAM VINCENT KANTOLA,                   Roxann Henry
                                               James Backstrom
 7. JIMMIE LEE LITTLE,                         Mark Byrne
                                               Dennis Canty
 8. WILLIAM WADE LOVETTE,                      John Fagg, Jr.
                                               Dru Nielsen
                                               James McLoughlin
                                               Kaitlin Price
 9. GARY BRIAN ROBERTS, and                    Craig Gillen
                                               Richard Tegtmeier
                                               Anthony Lake
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  10. RICKIE PATTERSON BLAKE,                            Wendy Johnson
                                                         Barry Pollack
                                                         Christopher Plumlee

     Defendants.



                                  COURTROOM MINUTES


 JURY TRIAL – DAY 22

 4:13 p.m.     Court in session.

 Defendants present on bond.

 The Court has received a note from the jury.

 Discussion regarding a response to the note and a potential mistrial.

 Court declares a mistrial.

 Mr. Koenig states the government will retry the case.

 ORDERED: The jury trial is reset for June 6, 2022 at 8:00 a.m. in Courtroom A201
          before Chief Judge Philip A. Brimmer.

 ORDERED: The head of the United States Antitrust Division shall appear in one
          week before Chief Judge Philip A. Brimmer to explain why the case
          should be retried, as discussed.

 4:37 p.m.     Jury present.

 ORDERED: Counsel for a party or any party is not permitted to contact or speak
          to the jury after the termination of the trial, as stated on record.

 Court thanks the jury for their service. Jury is dismissed.

 ORDERED: Defendants’ bonds are continued.

 4:41 p.m.     Court in recess.

 Trial concluded.
 Total time in court:   00:28
